Case 2:04-Cr-20307-.]P|\/|-de Document 60 Filed 06/24/05 Page 1 of 3 Page|D 93

IN THE UNITED S'I‘ATES DISTRICT cOURT m 156
FOR THE wESTERN DISTRICT OF TENNESSEE 05 julia 214 ;»;=1\;,5;
wEsTERN DIVISION

 

 

UNITED S'I`ATES OF AMERICA

Plaintiff,
v. Criminal No. 02 - adY?Ml
(30-Day Continuance)
€v\ C;J“q

 

 

 

 

V\_rvvv`_r\_rvv`/VVVVVVVVVV

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the July, 2005,
criminal rotation calendar, but is now RESET for report at QiQQ
a.m. on Fridav, Julv 22, 2005, with trial to take place on the
August, 2005 rotation calendar with the time excluded under the

Speedy Trial Act through August 12, 2005. Agreed in open court at

    
 

report date this 24th day of June, 20 5.

Tl'ws document entered on the docket Sheet

with F\ule 55 andlor 32(b) FRCrP on

 

Case 2:04-Cr-20307-.]P|\/|-de Document 60 Filed 06/24/05 Page 2 of 3 Page|D 94

so ORDERED this 24th day of June, 2005.

wsm

JON HIPPS MCCALLLA .
UNI ED STATES DISTR.ICT JUDGE

Assistant United States Attorney

/G,%M

/

 

 

 

 

Counsel for Defendant(s)

     

UNIED` sTsTAE DlsTlCT oUR - ETRNDIsTCRIT oF ENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
case 2:04-CR-20307 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

Eric Scott Hall
WAGERMAN LAW FIRM
200 .1 efferson Ave.

Ste. 13 13

1\/lemphis7 TN 38103

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

